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   1                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
   2                             WESTERN DIVISION

   3   LDGP, LLC, et al.,                       )   Docket No. 15 C 50148
                                                )
   4                   Plaintiffs,              )   Rockford, Illinois
                                                )   Thursday, January 25, 2018
   5           v.                               )   10:00 o'clock a.m.
                                                )
   6   CYNOSURE, INC.,                          )
                                                )
   7                   Defendant.               )

   8                         TRANSCRIPT OF PROCEEDINGS
                       BEFORE THE HONORABLE IAIN D. JOHNSTON
   9
       APPEARANCES:
  10
       For the Plaintiffs:                      POWER, ROGERS & SMITH
  11                                            (70 W. Madison Street,
                                                 Suite 5500
  12                                             Chicago, IL 60602) by
                                                MR. DEVON C. BRUCE
  13
                                                WILLIAMS McCARTHY
  14                                            (120 W. State Street,
                                                 P.O. Box 219,
  15                                             Rockford, IL 61105-0219) by
                                                MR. MARC C. GRAVINO
  16
       For the Defendant:                       SMITH AMUNDSEN LLC
  17                                            (150 N. Michigan Avenue,
                                                 Suite 3300
  18                                             Chicago, IL 60601) by
                                                MS. KATHRYN V. LONG
  19
                                                ARNOLD & PORTER KAYE SCHOLER
  20                                            (601 Massachusetts Avenue NW,
                                                 Washington, DC 20001) by
  21                                            MR. DANIEL S. PARISER

  22                                            (70 West Madison Street,
                                                 Suite 4200,
  23                                             Chicago, IL 60602) by
                                                MS. EMILY NEWHOUSE DILLINGHAM
  24
                                                (250 West 55th Street,
  25                                             New York, NY 10019) by
                                                MR. KYLE D. GOOCH
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                                                                                 2

   1   Court Reporter:                          Heather M. Perkins-Reiva
                                                327 S. Church Street
   2                                            Rockford, Illinois 61101
                                                (779) 772-8309
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   1               THE CLERK:     Calling 15 CV 50148, LDGP, LLC vs.

   2   Cynosure, Inc.

   3               MR. BRUCE:     Your Honor, it looks like they brought

   4   the Army.

   5               MR. PARISER:     Not the whole Army, your Honor.

   6               MR. BRUCE:     Well, Washington, Chicago.         I think there

   7   are more lawyers on the other side of this case than are at my

   8   firm.

   9               THE COURT:     Oh, stop it.      I know your firm, and your

  10   firm has got plenty of lawyers.

  11               All right.     Let's get appearances.

  12               MR. BRUCE:     Good morning, your Honor.         Devon,

  13   D-e-v-o-n, Bruce on behalf of the Plaintiff.

  14               THE COURT:     Good morning, Mr. Bruce.

  15               MR. GRAVINO:     Good morning, your Honor.         Marc Gravino

  16   on behalf of the Plaintiff.

  17               THE COURT:     Good morning, Mr. Gravino.

  18               MR. PARISER:     Good morning, your Honor.         Daniel

  19   Pariser, with Arnold & Porter Kaye Scholer, for the Defendant.

  20   It is a pleasure to be in front of your Honor.

  21               THE COURT:     Good morning.

  22               Hold on one second.       Where did you go?       Oh, there you

  23   are.    Okay.

  24               MS. LONG:     Good morning, your Honor.         Kate Long from

  25   Smith Amundsen for the Defendant.
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   1               THE COURT:     Good morning, Ms. Long.

   2               MS. DILLINGHAM:      Good morning, your Honor.         Emily

   3   Dillingham, from Arnold & Porter Kaye Scholer, for the

   4   Defendant.

   5               THE COURT:     Good morning.

   6               MR. GOOCH:     Good morning, your Honor.         Kyle Gooch,

   7   from Arnold & Porter Kaye Scholer, for the Defendant.

   8               THE COURT:     Good morning.

   9               So, Ms. Long, are you guys totally stepping out at

  10   this point?

  11               MS. LONG:     No, we are going to maintain our

  12   appearance in this case and provide support for Arnold &

  13   Porter as needed.       So we will be around.

  14               THE COURT:     All right.     I mean, I know you have

  15   institutional knowledge of the case.

  16               MS. LONG:     Exactly.

  17               THE COURT:     And I would hate to see that walk out the

  18   door.

  19               Okay.    So Judge Kapala entered an order.           The

  20   last -- too many things on my desk here.             Hold on one second.

  21               So we have got a 2015 case that's before Judge

  22   Kapala.     I need to know where we are going with this thing.             I

  23   know there was the attempted settlement conference that

  24   probably didn't even -- it didn't even get off the ground.

  25               MR. BRUCE:     It didn't get off the ground, your Honor.
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   1   And if I can circumvent, I have talked to Mr. Pariser, and we

   2   have worked out a CMC order, as you, I believe, directed or

   3   suggested the last time.

   4               THE COURT:     Okay.

   5               MR. BRUCE:     But before we get to that, Mr. Pariser

   6   indicated to me that based upon Judge Kapala's ruling that

   7   just came down, a mere flesh wound, he, Mr. Pariser, indicated

   8   that he would be filing additional motions.              And we got in a

   9   big discussion, and I said, "Well, I don't know if I'm going

  10   to need discovery, I don't know which," and we both came to

  11   the conclusion maybe -- and this is a joint suggestion; we are

  12   not bickering about this one, Judge -- maybe Mr. Pariser and

  13   the Army could file their motions, and I could take a look at

  14   those, and then that might judge whether I need to do

  15   discovery or to what extent.

  16               That makes sense to me, Judge, because I could be an

  17   obstructionist and say I object, but to my knowledge, I can't

  18   object to the man filing a motion.            So I was just going to say

  19   if we can get a time period in which he can file a motion, and

  20   then we can come back shortly thereafter and see what my

  21   response to that motion is.

  22               THE COURT:     Okay.    Mr. Pariser, go ahead.

  23               MR. PARISER:     Yes, your Honor.       I mean, the ruling

  24   that Judge Kapala entered with respect to personal

  25   jurisdiction, in our view, was really a game changer in this
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   1   case.    The court dismissed all of the class representatives

   2   that resided out of state based on lack of personal

   3   jurisdiction.      So all we are left with is one in-state

   4   Illinois class representative, and essentially our position is

   5   going to be that really ends this as a nationwide class action

   6   because there is, likewise, no jurisdiction over absent class

   7   members who reside out of state, and there is going to be

   8   insufficient sales in Illinois to even maintain a statewide

   9   class.

  10               So we think that's a big-picture issue, a threshold

  11   issue that the judge can resolve, I think, fairly quickly and

  12   expeditiously, and as discussed with Mr. Bruce, our thought

  13   was to get those motions on file and see what happens before

  14   we proceed with further discovery because, obviously, it is

  15   going to significantly impact the scope of the case,

  16   proportionality issues and the like, and obviously mindful of

  17   the court wanting to move the case and totally understand

  18   that, but that was our thought and suggestion, your Honor.

  19               THE COURT:     See, we went down the class certification

  20   road and hit a wall, and then we came back, and it happens.

  21   We try to figure out if we can do bifurcated discovery on

  22   class certification, and I'm not a big fan of it.                I didn't

  23   like it when I was an attorney, and I really don't like it

  24   sitting here, and it didn't work out.

  25               So then we brought everybody back and said, okay,
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   1   everything is open, we are going to go with full discovery.

   2   So they don't even have -- I don't have -- well, I have the

   3   docket sheet.      I can rummage through it pretty quickly.               Do

   4   you even have a class cert motion pending?

   5               MR. BRUCE:     Yes.

   6               THE COURT:     Okay.    I entered and continued that.

   7               MR. BRUCE:     Yes.    Plaintiff's lawyer files it

   8   simultaneously, Judge.

   9               THE COURT:     Well, the Seventh Circuit kept messing

  10   around with pick off and no pick off.

  11               MR. BRUCE:     No pick-off defense.

  12               THE COURT:     So I get it.      I get it.

  13               MR. PARISER:     Your Honor, if I may?

  14               THE COURT:     Hold on.

  15               So we have got a class cert motion pending.             What you

  16   are saying, what it sounds like you are articulating, sounds

  17   like a response in opposition to class cert, not a standalone

  18   motion.     I could be wrong, but talk to me about that.

  19               MR. PARISER:     Yes, so it is a little different, your

  20   Honor.     I think we would probably frame it as a motion to

  21   strike the class allegations for lack of jurisdiction or

  22   perhaps a motion for partial summary judgment, but the idea is

  23   this is a simple issue that you don't need to go through

  24   expert discovery, have class certification experts, have

  25   a full-blown class determination to decide.              It is really it
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   1   follows from the judge's recent order on personal

   2   jurisdiction.      So the notion is it would shortcut those

   3   proceedings.

   4               Now, I fully understand, your Honor, obviously, this

   5   is a 2015 case, you want to move the case, and that's why

   6   Plaintiff's counsel and I did agree on a proposed case

   7   management order in the event that the court wanted to keep

   8   the discovery train moving while this motion is being decided.

   9   You know, we have that as a backup, but we just thought that

  10   it made sense to try to flesh out in a prompt manner what the

  11   scope of this case looks like before we dive into further

  12   discovery and depositions and the like.

  13               But obviously, your Honor, that's your decision, and

  14   if the court wishes to proceed with discovery, we have worked

  15   out a schedule.

  16               THE COURT:     Well, the schedule can go sideways pretty

  17   quick depending on what you file, and you haven't filed it yet

  18   and haven't written it yet, and I haven't seen it yet.

  19               MR. BRUCE:     I guess our position, Judge, is I didn't

  20   realize -- I thought we were going to be talking about the CMC

  21   when Mr. Pariser and I talked the other day, and then he

  22   indicated this, and, frankly, I would like to see what he has

  23   got and see where he is going because that will affect running

  24   around the country taking a ton of deps or it is a more narrow

  25   issue.     I don't know.     I'm kind of shooting in the dark, but I
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   1   would like to see what he is going to file.

   2               THE COURT:     Me, too.

   3               All right.     How much time would you like to get that

   4   motion on file?

   5               MR. PARISER:     Could we get two weeks, your Honor?

   6               THE COURT:     Well, I will ruin a weekend for you.           I

   7   will give you February 12th.

   8               MR. PARISER:     Thank you, your Honor.

   9               THE COURT:     All right.     So get that on file by

  10   February 12th.

  11               And then I'm going to give Plaintiff's counsel an

  12   opportunity to take a look at it and think about what would be

  13   needed.     And then I'm going to try to find some time, which is

  14   going to be the real problem here, to talk to you.

  15               I will give you until the 13th.          I won't do the 14th

  16   because that's Valentine's Day, and I don't want to be working

  17   late on Valentine's Day.         And I will set this for a telephonic

  18   status February 22nd at 1:30, if it works.

  19               Mr. Gravino, Mr. Bruce, that's a Thursday, 1:30 p.m.

  20   Central Time, for a telephonic.           Does that work?

  21               MR. BRUCE:     Yes, that's great.       Thank you, Judge.

  22               THE COURT:     Does that work for Defendant?

  23               MR. PARISER:     Yes, your Honor.

  24               THE COURT:     Okay.    So then you will have a little

  25   over a week to take a look at it.           I will have some time to
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    1   take a look at it.       And then we will see what we need to do,

    2   whether there is going to be additional discovery to respond

    3   to it.    Then that becomes a problem because the motion becomes

    4   stale, and it is a Judge Kapala case, and he is going to say,

    5   "Why is there a motion pending in my Biden list on a 2015

    6   case?"    And then I have to come up with a great answer, and

    7   I'm just plumb out of great answers right now.

    8              So we will talk on the 22nd at 1:30.            Provide

    9   Ms. Pedroza with your contact information so we can place the

  10    call.

  11               I will let new defense counsel know -- I'm going to

  12    give you the speech.        They can probably do the speech as well

  13    as I can at this point.

  14               Once on the case management order, if we go that

  15    route, what you need to know is once I set the dates, we are

  16    going to meet those dates, and I'm going to do what's

  17    necessary to get you to those dates.

  18               So if you serve a third-party subpoena and the return

  19    date comes and goes, call them up, send them an e-mail.                   If

  20    they still don't respond, hit them with a motion, file it in

  21    front of me as soon as possible, give them a copy of the

  22    motion, and I will get you the documents that you are entitled

  23    to get or make sure somebody sits at a deposition that should

  24    be sitting at a deposition.

  25               If you have discovery disputes, file your motion,
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    1   after you had a Rule 37 conference.           Try to work them out on

    2   your own.     If you can't, get that motion either for a

    3   protective order, motion to compel in front of me so, again, I

    4   can keep you on track to meet the dates.             If you haven't

    5   picked up on it yet, I think I said "meet the dates" three

    6   times.

    7               If at any time the parties want a settlement

    8   conference, let me know either at a status or collectively

    9   contact Ms. Pedroza, and I will find some time to get you in

  10    here for a settlement conference.           If you don't want to use

  11    me, and that's fine, we have a whole list of attorneys on the

  12    panel.    They will be glad to hear your mediation.             And the

  13    downside is you pay for them.

  14                Okay.   So that's the drill.        That's what we do here,

  15    we meet the dates.       If you need to file a motion to compel or

  16    motion for a protective order, I don't care, that's fine.

  17    That's what I am here to rule on.           My job is to get the case

  18    moving forward.      So I'm not going to be a hindrance.

  19                I'm almost positive we have a protective order in

  20    place because we have had a couple issues on that.               So that

  21    shouldn't be a problem, okay?

  22                All right.    We will talk to you on the 22nd, then.

  23                MR. BRUCE:    Thank you, Judge.

  24                MR. GRAVINO:     Thank you, Judge.

  25                MR. PARISER:     Thank you.
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    1              MS. LONG:     Thank you, your Honor.

    2      (Which were all the proceedings heard.)

    3                                   CERTIFICATE

    4      I certify that the foregoing is a correct transcript from

    5   the record of proceedings in the above-entitled matter.

    6   /s/ Heather M. Perkins-Reiva                February 19, 2018

    7
        Heather M. Perkins-Reiva                             Date
    8   Official Court Reporter

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